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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

   CONFIGAIR LLC,                                    )
                                                     )
                      Plaintiff,                     )
                                                     )
   v.                                                )      3:17-cv-02026-JBA
                                                     )
                                                     )
   HENRY KURZ                                        )
                                                     )      June 19, 2018
                                                     )
                      Defendants.                    )



             DEFENDANT’S MOTION TO WITHDRAW MOTION TO STAY

        The defendant in the above entitled matter respectfully moves to withdraw his Motion to

Stay [Document 8].



                                                     Respectfully submitted,

                                                     THE DEFENDANT

                                                     By: /s/ Bruce H. Raymond
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                                 CERTIFICATE OF SERVICE

   I hereby certify that on this date a copy of foregoing pleading was filed electronically and

served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent by

e-mail to all parties by operation of the court’s electronic filing system or by mail to anyone

unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may

access this filing through the court’s CM/ECF System.


Date: June 19, 2018                                    /s/ Bruce H. Raymond
                                                       Bruce H. Raymond




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